 1    OVERCAST LAW OFFICES, P.S.                                 HON. FREDERICK P. CORBIT
      23 S. Wenatchee Ave. Suite 320
 2    Wenatchee, WA 98801
 3    (509) 663-5588 tele
      (509) 662-5508 fax
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 8                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF WASHINGTON
 9

10     In re:                                        CASE NO. 18-03197-FPC11
11     GIGA WATT, INC.
                                                     NOTICE OF MOTION FOR RELIEF
12                                                   FROM STAY; ABANDONMENT; AND
                                                     REJECTION OF UNEXPIRED
13                                                   COMMERCIAL LEASES
14

15

16
                         Debtor in Possession
17

18
      TO: Giga Watt, Inc., Debtor in Possession (“Debtor”)
19
      AND TO: All Parties to the Master Mailing List
20
             PLEASE TAKE NOTICE that Giga Plex, LLC and MLDC1, LLC (“Creditors”)
21
      hereby gives notice of its request for an order granting relief from stay, abandonment, and
22

23    rejection unexpired commercial lease under 11 U.S.C ⸹⸹ 362, 365 & 554 in order to pursue

24    its default rights and remedies in accordance with applicable non-bankruptcy law.
25

26
       NOTICE OF MOTION FOR RELIEF FROM STAY;                    O VERCAST L AW O FFICE S
       ABANDONMENT; AND REJECTION OF                            23 South Wenatchee Avenue, Suite 320
       UNEXPIRED COMMERCIAL LEASES - 1                          Wenatchee, Washington 98801
                                                                Telephone (509) 663-5588




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 1           Creditors are also requesting that the provisions of FRBP 4001(a)(3), which provide
 2    that an order granting relief from stay is stayed until the expiration of fourteen (14) days after
 3
      the entry of the order unless the court orders otherwise, be waived to avoid prolonging the
 4
      determination of Creditors’ rights to possession of the leased premises.
 5
             THE MOTION WILL BE SET FOR HEARING AS FOLLOWS:
 6

 7                   JUDGE:                  The Honorable Frederick P. Corbit

 8                   HEARING DATE:           Requested for January 17, 2019 at 1:00 p.m.

 9                   RESPONSE DATE: Requested for January 14, 2019 by 5:00 p.m.
10                   LOCATION:               904 West Riverside Ave. Ste. 304 Spokane, WA 99201
11
             Anyone wishing to object to this motion must respond on or before the date set by this
12
      Court. Objections shall be served upon the Clerk of the Bankruptcy Court at PO Box 2164,
13
      Spokane, WA 99210-2164 and upon counsel for Creditors at Overcast Law Offices, P.S., 23
14

15    S. Wenatchee Ave. Suite 320, Wenatchee, WA 98801.

16           PLEASE TAKE NOTICE THAT THE COURT MAY ENTER THE ORDER

17    SOUGHT ON CREDITORS’ REQUEST AT THE SCHEDULED HEARING UNLESS
18
      A PARTY IN INTEREST SERVES AND FILES AN OBJECTION BEFORE THE
19
      RESPONSE DATE OF JANUARY 14, 2019.
20
      DATED:            January 3, 2019.
21

22
                                                          OVERCAST LAW OFFICES
23
                                                          /s/ David A. Kazemba
24                                                        David A. Kazemba, WSBA #48049
                                                          Attorneys for Creditors, Giga Plex, LLC
25                                                        and MLDC1, LLC
26
       NOTICE OF MOTION FOR RELIEF FROM STAY;                       O VERCAST L AW O FFICE S
       ABANDONMENT; AND REJECTION OF                                23 South Wenatchee Avenue, Suite 320
       UNEXPIRED COMMERCIAL LEASES - 2                              Wenatchee, Washington 98801
                                                                    Telephone (509) 663-5588




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